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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF ALABAMA
                                    EASTERN DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
                  v.                             )     CR. NO. 3:19-cr-364-ECM
                                                 )
NAYEF AMJAD QASHOU                               )


  MOTION TO DECREASE DEFENDANT’S OFFENSE LEVEL PURSUANT TO UNITED
                STATES SENTENCING GUIDELINE § 3E1.1(b)
                 FOR ACCEPTANCE OF RESPONSIBILITY

        Comes now the United States of America, by and through Louis V. Franklin, Sr., United

States Attorney for the Middle District of Alabama, and files the above-captioned Motion, and as

reasons therefore, submits the following:

        1.        Defendant qualifies for a reduction in his sentence pursuant to U.S.S.G.

§ 3E1.1(b) because he assisted authorities in the investigation and prosecution of his own

misconduct by timely notifying authorities of his intention to enter a plea of guilty, thereby

permitting the United States to avoid preparing for trial and permitting the Government and this

Court to allocate their resources efficiently.

        2.        Accordingly, pursuant to U.S.S.G. § 3E1.1(b), the United States respectfully

moves this Court to reduce defendant’s offense level by one (1) level. Combined with the two

(2) level reduction applied to defendant’s offense level pursuant to U.S.S.G. § 3E1.1(a), a total

reduction of three (3) levels should be applied to defendant’s offense level for his acceptance of

responsibility.
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Respectfully submitted this the 25th day of June, 2020.



                                             LOUIS V. FRANKLIN, SR.
                                             UNITED STATES ATTORNEY

                                             /s/ Robert K. Nichols, III
                                             ROBERT K. NICHOLS, III
                                             Assistant United States Attorney
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
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UNITED STATES OF AMERICA                     )
                                             )
               v.                            )       CR. NO. 3:19-cr-364-ECM
                                             )
NAYEF AMJAD QASHOU                           )


                                 CERTIFICATE OF SERVICE

       I, Robert K. Nichols, III, Assistant United States Attorney, hereby certify that on this the

25th day of June 2020, I filed the foregoing with the Clerk of the Court through the CM/ECF

system, which will provide notification of such filing to counsel for defendant.



                                                     Respectfully submitted,

                                                     /s/ Robert K. Nichols, III
                                                     ROBERT K. NICHOLS, III
                                                     Assistant United States Attorney
                                                     131 Clayton Street
                                                     Montgomery, Alabama 36104
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